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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE
 8    UNITED STATES OF AMERICA,
 9                                                        CASE NO. CR02-17 RSM

10             Plaintiff,                                 REVISED PROPOSED FINDINGS OF
11                                                        FACT AND DETERMINATION
                  v.                                      AS TO ALLEGED SUPPLEMENTAL
12                                                        VIOLATIONS OF SUPERVISED
      KAMAU CURNAL,                                       RELEASE
13
               Defendant.
14
15                                          INTRODUCTION

16          An initial hearing was held on December 5, 2005 to address alleged violations of supervised

17   release in this case. On December 7, 2005, a probation petition was filed with the Court to

18   incorporate supplemental violations. I conducted a hearing on the alleged supplemental violations

19   of supervised release on December 14, 2005. The United States was represented by Ron Friedman.

20   The defendant was represented by Thomas Campbell. The proceedings were recorded on disk.

21                                  CONVICTION AND SENTENCE

22          Defendant had been convicted of Conspiracy to Distribute MDMA (Ecstacy), on or about

23   October 25, 2005. The Hon. Ricardo S. Martinez of this court sentenced Defendant to 30 months

24   of confinement, followed by three years of supervised release.

25          The conditions of supervised release included requirements that defendant comply with the

26   standard 13 conditions.

27   //

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     PROPOSED FINDINGS
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 1                                     DEFENDANT'S ADMISSION
 2          At the December 5, 2005 hearing defendant admitted to violations one and two:
 3          (1)    Using marijuana on or before August 2, 2005; August 3, 2005; August 9, 2005;
 4                 September 29, 2005; October 11, 2005 and October 13, 2005, in violation of standard
 5                 condition number seven.
 6          (2)    Failing to report for drug testing as instructed on August 23, 2005, in violation of
 7                 supervised release requiring participation, as instructed by the probation officer, in a
 8                 program approved by the probation office for treatment of narcotic addition, drug
 9                 dependency or substance abuse, which may include testing to determine if the
10                 defendant has reverted back to drugs or alcohol.
11    At the December 14, 2005 hearing, USPO Michael Larson alleged Defendant violated the
12   conditions of supervised release in three respects:
13          (3)    Using amphetamine on or before November 8, and November 30, 2005, in violation
14                 of standard condition number seven;
15          (4)    Using methamphetamine on or before November 8, and November 30, 2005;
16          (5)    Failing to report for drug testing as instructed on November 4, November 10 and
17                 November 14, 2005, in violation of the special condition of supervised release
18                 requiring participation, as instructed by the probation officer, in a program approved
19                 by the probation office for treatment of narcotic addiction, drug dependency or
20                 substance abuse, which may include testing to determine if the defendant has reverted
21                 to the used of drugs or alcohol.
22   I advised the defendant of these charges and of his constitutional rights. Defendant admitted
23   violation numbers three through five, waived any hearing as to whether it occurred, and consented
24   to having the matter set for a disposition hearing before the Hon. Ricardo S. Martinez.
25   //
26   //
27   //
28
     PROPOSED FINDINGS
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 1                       RECOMMENDED FINDINGS AND CONCLUSIONS
 2         Based upon the foregoing, I recommend the court find that Defendant has violated the
 3   conditions of his supervised release as alleged and set the matter for a disposition hearing.
 4         Defendant shall remain detained pending a final determination by the court.
 5         DATED this 4th day of January, 2006.
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 9                                                        MONICA J. BENTON
                                                          United States Magistrate Judge
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11
     cc:   Sentencing Judge               :       Hon. Ricardo S. Martinez
12         Assistant U.S. Attorney        :       Ron Friedman
           Defense Attorney               :       Thomas Campbell
13         U. S. Probation Officer        :       Michael Larson
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     PROPOSED FINDINGS
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